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 6

 7                               IN THE UNITED STATES BANKRUPTCY COURT
 8                                    FOR THE DISTRICT OF ARIZONA
 9   In re:                                           Chapter 11 Proceedings
10
     PARAMOUNT BUILDING SOLUTIONS, LLC, Case No. 2:17-bk-10867-EPB
11
                        Debtor.                       Case No. 2:17-bk-10868
12   In re:                                           Case No. 2:17-bk-10869
                                                      Case No. 2:17-bk-10870
13   CLEANING SOLUTIONS, LLC,                         (Joint Administration Requested)
14                      Debtor.
     In re:                                           EMERGENCY MOTION FOR INTERIM AND
15                                                    FINAL ORDER (I) AUTHORIZING
     JMS BUILDING SOLUTIONS, LLC,                     DEBTORS TO OBTAIN SECURED POST-
16                      Debtor.                       PETITION FINANCING ON A SUPER
     In re:                                           PRIORITY BASIS PURSUANT TO §§ 363, 364
17
                                                      AND 507(b); (II) GRANTING RELIEF FROM
     STARLIGHT BUILDING SOLUTIONS, LLC,               THE AUTOMATIC STAY PURSUANT TO 11
18
                        Debtor.                       U.S.C. §362; (III) GRANTING RELATED
19                                                    RELIEF; (IV) SCHEDULING A FINAL
                                                      HEARING PURSUANT TO BANKRUPTCY
20                                                    RULE 4001; AND AUTHORIZING USE OF
                                                      CASH COLLATERAL AND GRANTING OF
21
                                                      ADEQUATE PROTECTION
22
                                                      Date of Hearing: TBD
23                                                    Time of Hearing: TBD
24            Cleaning Solutions, LLC ("Cleaning"), Paramount Building Solutions, LLC ("Paramount"),

25 Starlight Building Solutions, LLC ("Starlight"), JMS Building Solutions, LLC ("JMS") (collectively
26 the "Debtors"), by and through undersigned counsel, move this Court for entry of an interim and a

27 final order under 11 U.S.C. §§ 105(a), 361, 362, 363, 364, 507(b) and Rules 2002, 4001(c) and 9014 of
28 the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") authorizing the Debtors to

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 1 obtain secured post-petition financing from DW Jade, LLC, as lender (the "DIP Lender"), and

 2 authorizing the agreed use of cash collateral and grant of adequate protection.

 3            The following information is provided in compliance with Rule 4001(b)(1)(B) Fed. R. Bankr.

 4 P., and Rule 4001-4 Local Rules of Bankruptcy Procedure for the District of Arizona:

 5            (1) DIP Lender is the only prepetition secured creditor of the Debtors with a prepetition

 6 security interest in assets of the estates. Pursuant to the proposed post-petition financing, the DIP

 7 Lender will be granted first priority priming liens and security interests in all of the Debtors Collateral (as

 8 defined in the Senior Secured Superpriority Debtor-In-Possession Credit and Security Agreement (the

 9 "DIP Facility Agreement") attached to this Motion as "Exhibit C") pursuant to Bankruptcy Code

10 § 364(c) and (d) and DIP Lender will be granted super-priority administrative expense status, with

11 respect to the obligations under such post-petition financing, with priority over any and all

12 administrative expenses of the kinds specified in Bankruptcy Code §§ 503(b), 507(b) and 546(c),

13 except for the carve-outs as further describe in the proposed Interim Order attached as "Exhibit A"
                                                   1
14 ("Interim Order") or the Dip Facility Agreement. See conclusions in paragraphs L, M, R, and

15 paragraphs 11 through 14 of the attached proposed Interim Order.

16            (2) The Interim Order proposes to determine the amount, validity, perfection and scope of

17 security interests affecting the rights of the estate and third-parties. See conclusions in paragraphs H

18 through M, and paragraphs 11 through 14 of the attached proposed Interim Order.

19            (3) The Interim Order proposes to waive claims related to the DIP Lender. See paragraphs 10,

20 11, 17 and 24 of the attached proposed Interim Order.

21            (4) The Debtors do not propose to grant liens or security interests against rights and actions

22 arising under Code §§ 544, 545, 547, 548 or 549.

23            (5) The Debtors do not propose to use proceeds from the post-petition financing to pay pre-

24 petition secured debt.

25            (6) The Professional Fee Carve-out is defined in the DIP Facility Agreement and addressed in

26 paragraphs 12 and 15 of the attached proposed Interim Order.

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     1
28    To the extent there is an inconsistency between the terms of the Interim Order and the Dip Facility
     Agreement, the Interim Order should be viewed as the most current iteration and shall control.
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 1            (7) The proposed post-petition financing does not address the payment of prepetition wages,

 2 salary or other compensation.

 3            (8) Pursuant to the proposed post-petition financing, the DIP Lender will be granted first priority

 4 priming liens and security interests in all of the Debtors Collateral (as defined in the DIP Facility Agreement

 5 and attached to this Motion as "Exhibit C"). See conclusions in paragraphs M, R, and paragraphs 12

 6 through 14 of the attached proposed Interim Order.

 7             This Motion seeks immediate entry of an interim order granting the Motion and is brought on

 8 an emergency basis on expedited notice under Local Bankruptcy Rule 9013-1(h) to avoid immediate

 9 and irreparable harm to the Debtors' estates.

10          The relief requested in this Motion would authorize the Debtors to obtain secured post-
            petition, debtor-in-possession financing. The basis for the relief request in this Motion is
11
            set forth in Article III, paragraphs 18 through 23 below and such sections of the DIP
12          Facility and Interim Order identified above.

13            This Motion is supported by the entire record before the Court, the Declaration of Jeffory

14 Southard in Support of First Day Pleadings" (the "Southard Declaration") filed contemporaneously

15 with this Motion, and by the following memorandum of points and authorities.

16                                   MEMORANDUM OF POINTS AND AUTHORITIES

17 I.         BACKGROUND.

18                                             Jurisdiction and Venue

19            1.       On September 15, 2017, Cleaning filed its Voluntary Petition for relief under Chapter

20 11 of the United States Bankruptcy Code.

21            2.       On September 15, 2017, Paramount filed a Voluntary Petition for relief under Chapter

22 11 of the United States Bankruptcy Code.

23            3.       On September 15, 2017, Starlight filed its Voluntary Petition for relief under Chapter 11

24 of the United States Bankruptcy Code.

25            4.       On September 15, 2017, JMS filed a Voluntary Petition for relief under Chapter 11 of

26 the United States Bankruptcy Code.

27            5.       On September 15, 2017, Debtors filed their Motion for Joint Administration of Pending

28 Bankruptcy Cases (Docket No.3) and the motion is pending.


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 1            6.       Each of the Debtors is a debtor-in-possession pursuant to 11 U.S.C. §§ 1107(a) and

 2 1108 and no trustee has been appointed in these cases.

 3            7.       The Post-Petition Financing is intended to provide the Chapter 11 bankruptcy estates

 4 (hereafter "Estates") with necessary operating funds to operate the Debtors' businesses until the a sale

 5 of the Debtors' assets through 11 U.S.C. § 363 of the Bankruptcy Code occurs.

 6            8.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 7 Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the

 8 relief requested herein are Bankruptcy Code §§ 105(a) and 366.

 9                                   Background Facts Concerning the Debtors

10            9.       In support of this Motion, the Debtors incorporate by reference the statements set forth

11 in the Southard Declaration.

12                                         Agreed Use of Cash Collateral

13            10. The Debtors hereby acknowledge and agree that the DIP Lender has a perfected

14 interest in the Debtors' cash collateral pursuant to the Prepetition Loan Documents to secure

15 the Prepetition obligations. The DIP Lender and the Debtors have agreed on Debtors' use of cash

16 collateral contingent upon the relief requested in the attached Interim Order substantially in the form

17 attached as "Exhibit A", including, without limitation, the Court's grant of replacement liens and the

18 Adequate Protection Superpriority Claim in favor of DIP Lender. The authorization granted to the

19 Debtors to use Cash Collateral under the Interim Order will automatically terminate upon the earliest

20 of: (i) Twenty-one (21) days following entry of this Interim Order, unless extended by DIP Lender in

21 its sole discretion; or (ii) the Termination Date.

22                                          Necessity Of DIP Financing

23            11.      The Debtors, headquartered in Phoenix, Arizona, provide janitorial services to grocery

24 supermarkets, airport terminals, and medical facilities. Aside from cash on hand, inventory and

25 furniture, fixtures and equipment, majority of the value in the Debtors' estates is attributable to their

26 customer relationships, profitable service contracts and going concern value.            The Debtors have

27 marketed the assets as a going concern for over 17 months, and continue to engage with potential

28 bidders. The Debtors' have issued a press release regarding the bankruptcy and intended sale of the


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 1 businesses through 11 U.S.C. § 363 of the Bankruptcy Code. The Debtors and the DIP Lender agree

 2 that the Debtors' business must continue to operate until the assets can be sold in order to preserve the

 3 going concern value of such assets for the benefit of creditors. The Estates have insufficient operating

 4 funds to make all required operating payments. In short, the Estates urgently require the DIP Facility

 5 to continue operations in the ordinary course.

 6 II.        RELIEF REQUESTED.

 7            12.      By this Motion, the Debtors seek entry of an Interim Order substantially in the form

 8 attached as "Exhibit A" to this Motion and a final order (the "Final Order") under Bankruptcy Code

 9 §§ 105, 362, and 364(b):

10                     a. Authorizing the Debtors to obtain post-petition, debtor-in-possession financing up to

11                     an aggregate principal amount of $2,075,000.002, (the "DIP Facility") in accordance

12                     with the Interim Order and the DIP Facility Agreement attached to this Motion,

13                     executed among the DIP Lender and the Debtors as borrowers, for such purposes as set

14                     forth on the Budget (attached to this Motion as "Exhibit B") and pursuant to any related

15                     documents to be drafted and required to be delivered in connection with the DIP

16                     Facility Agreement (collectively with the DIP Facility Agreement, the "DIP Loan

17                     Documents");3

18                     b. Approving the terms and conditions of the DIP Loan Documents and authorizing the

19                     Debtors to execute and enter into the DIP Loan Documents;

20

21

22
     2
     The Budget attached hereto as Exhibit B provides for funding of the following amounts on the
23 following dates.

24                  09/22/17: $250,000
                    09/29/17: $750,000
25                  10/27/17: $450,000
                    11/30/17: $625,000
26
     3
27  The Debtors propose that the DIP Facility be granted on an interim basis under the terms of the DIP
   Facility Agreement and the Interim Order. Prior to a final hearing on this Motion, the Debtors and the
28 DIP Lender will have any other DIP Loan Documents drafted to reflect the agreement set forth in the
   DIP Facility Agreement.
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 1                     c. Authorizing the Debtors to execute and deliver, from time to time, all such other

 2                     documents, instruments, and agreements and to perform all such other acts as may be

 3                     required in connection with the DIP Loan Documents;

 4                     d. Authorizing the Debtors under Bankruptcy Code §§364(b) to obtain debtor-in-

 5                     possession financing under the DIP Loan Documents (all such financing, loans,

 6                     extensions of credit, and other indebtedness including related interest and fees are the

 7                     "Post-petition Advances");

 8                     e. Modifying the automatic stay under Bankruptcy Code § 362 to the extent reasonably

 9                     necessary to permit the Debtors and the DIP Lender to implement the terms of the

10                     Interim Order and the Final Order;

11                     d. Authorizing the Debtors, after an emergency hearing (the "Interim Hearing"), to

12                     obtain debtor-in-possession financing from the DIP Lender up to an aggregate principal

13                     amount of $2,075,000.00, pending a final hearing on this Motion (the "Final

14                     Hearing");

15                     e. Scheduling the Final Hearing and establishing notice procedures for the Final

16                     Hearing and the proposed Final Order.

17 III.       BASIS FOR RELIEF.

18            13.      The Debtors have determined that the DIP Facility is necessary to provide the Debtors

19 with necessary operating funds to operate the Debtors' businesses until a purchase of all or a portion of

20 Debtors' assets through a Bankruptcy Code § 363 sale is closed (the "Transaction"). In this regard,

21 the Debtors have concluded that obtaining the post-petition financing contemplated by this Motion is

22 necessary and in the best interest of the Debtors and their estates.

23                                                The DIP Facility

24            14.      The terms and conditions of the proposed DIP Facility are set forth in the DIP Facility

25 Agreement itself, which is attached as Exhibit C to this Motion, and need not be reiterated here.

26 Nonetheless, the Debtors specifically note the following key provisions of the DIP Facility Agreement

27 and the proposed Interim Order:

28                     a. Interest Rate:


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 1                     Non-default interest rate is an annual rate of LIBOR plus Five Percent (5%) calculated

 2                     on the basis of a 360-day year and actual days elapsed.

 3                     b. Maturity:

 4                     The Loan is due and payable on the occurrence of the "Termination Date," which

 5                     would be the earliest to occur of (i) November 30, 2017, (ii) the date Borrowers

 6                     terminate the DIP Lender's Revolving Commitment to make further advances under the

 7                     Credit Facility, (iii) the closing of the Transaction, or (iii) the date the DIP Lender

 8                     terminates the Revolving Commitment to make further advances under the Credit

 9                     Facility following an event of default as set forth in the DIP Facility Agreement. Events

10                     of Default are set forth in Section 9 of the DIP Facility Agreement. Any obligation of

11                     DIP Lender to provide advances under the Credit Facility would automatically

12                     terminate on the Termination Date. The Obligations under the Credit Faculty and the

13                     prepetition Existing Liabilities to Lender are due and payable on the Termination Date.

14                     c. Liens/Priority: The DIP Facility is to be secured by first priority priming security

15                     interests in and liens on all of the existing and after-acquired real and personal assets of

16                     the Debtors and their Estates, including, without limitation, all accounts, cash, deposit

17                     accounts, contract rights, general intangibles, inventory, equipment, and all proceeds

18                     therefrom. The Obligations under the DIP Facility (the DIP Superpriority Claim) and

19                     the Dip Lender's rights to adequate protection pursuant to its prepetition Existing Credit

20                     Agreement (the Adequate Protection Superpriority Claim) each as set forth in the

21                     Interim Order are secured by first priority priming security interests in and payable from

22                     all sources of collateral, excluding general recoveries under Chapter 5 of the

23                     Bankruptcy Code. The DIP Facility is secured by the Specified Bankruptcy Recoveries,

24                     which are limited to recoveries arising under section 549 of the Bankruptcy Code, and

25                     (B) with respect to recoveries arising under all other sections of chapter 5 of the

26                     Bankruptcy Code, the amounts necessary to reimburse the DIP Lender for the amount

27                     of the Professional Fee Carve Out, if any, used to finance the pursuit of such recovery.

28                     d. Borrowing Limit: An aggregate principal amount of $2,075,000.00.


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 1                     e. Borrowing Conditions: DIP Lender's obligation to make the initial and subsequent

 2                     advances under the DIP Facility is conditioned on full and timely satisfaction (in DIP

 3                     Lender's sole discretion) of certain conditions precedent deemed appropriate by DIP

 4                     Lender in its sole discretion, as set forth in Section 4 of the DIP Facility Agreement,

 5                     including but not limited to the following:

 6                         •    Debtors have executed, and delivered to DIP Lender all Loan Documents

 7                              required by DIP Lender, in form and substance acceptable to DIP Lender;

 8                         •    The Budget has been approved by the DIP Lender; and

 9                         •    The Financing Order has been entered and remains in full force and effect.

10                     f. Repayment: The outstanding principal balance together with all accrued and unpaid

11                     interest, fees, and any other charges shall be due in full on the Termination Date.

12                     g. Approval of the Bankruptcy Court: The Financing is conditioned on approval by the

13                     Bankruptcy Court pursuant to interim and final orders in form and substance acceptable

14                     to DIP Lender in its sole discretion (collectively, the "Financing Order"). Among

15                     other things, the Financing Order would (i) adjudicate all indebtedness under the DIP

16                     Facility to have superpriority claim status under Bankruptcy Code §§ 364(c)(1) and

17                     507(b), (ii) adjudicate adequate protection pursuant to the Existing Credit Agreement to

18                     have superpriority claim status under Bankruptcy Code §§ 364(c)(1) and 507(b), and

19                     (iii) adjudicate DIP Lender to be secured as stated above under Bankruptcy Code §§

20                     364(c) and (d), with first priority priming liens on all of the Collateral.

21                     Without limiting the foregoing in any way, the Financing Order would include, among

22                     other things, the following provisions: (i) DIP Lender would have full stay relief so that

23                     DIP Lender can enforce its rights in the event of a default without having to obtain any

24                     other or further court order, including, without limitation, the enforcement, on three

25                     days prior written notice, of such remedies against the Collateral, (ii) the Estates would

26                     not obtain any other loan without the prior written consent of DIP Lender, (iii) the

27                     Estates would not seek approval for or incur any debt which would prime the liens

28                     granted to DIP Lender, or would be pari passu with the liens granted to DIP Lender,


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 1                     (iv) the Estates would agree and the Financing Order will so provide that there would be

 2                     no Bankruptcy Code § 506(c) surcharge claims against DIP Lender or its Collateral, (v)

 3                     that the Loan is an arms-length transaction, in good faith, for reasonable consideration,

 4                     and is not a fraudulent transfer under the Bankruptcy Code or applicable law.

 5            15.      The provisions of Bankruptcy Rule 4001(c)(1)(B)(ii)–(xi) do not apply to this financing

 6 arrangement.

 7                                         Negotiation of the DIP Facility

 8            16.      The Debtors negotiated the terms of the DIP Facility and the Interim Order with the DIP

 9 Lender in good faith and at arms' length. The Debtors have determined that their existing financial

10 circumstances necessitate the DIP Facility in order to meet their short-term operating expenses.

11 According, the DIP Facility and the Interim Order are most favorable in light of the Debtors' working

12 capital needs pending the Transaction.

13            17.      The DIP Facility constitutes a financing package in the best interests of the Debtors and

14 their estates. The DIP Lender presented the Debtors with the most attractive economic package

15 available under the circumstances.

16                                                 Legal Standard

17            18.      Pursuant to 11 U.S.C. § 364(d), the Court may authorize the incurring of credit secured

18 by a senior lien "if the Trustee is unable to obtain such credit otherwise, and there is adequate

19 protection of the interest of the holder of the lien on the property of the estate on which such senior or

20 equal lien is proposed to be granted." By this motion, the Debtors seek authorization of the DIP

21 Facility, up to an aggregate principal amount of $2,075,000.00 to be secured by a first and prior lien

22 upon the Collateral. The funds are required for continuation of the Debtors' operations until a closing

23 of the Transaction. Without operations there is no revenue, and the value of the overall enterprise and

24 the property interests of all secured creditors, is adversely affected.

25            19.      Only reasonable efforts need be taken to locate unsecured post-petition financing.

26 "[Section 364] imposes no duty to seek credit from every possible lender before concluding that such

27 credit is unavailable." In re Snowshoe Co., Inc. 789 F.2d 1085, 1088 (4th Cir. 1986).

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 1            20.      The possibility of financing from any other source is, essentially, impossible, given the

 2 Debtors' existing debt and the urgency of their situation. Only lenders with existing liens against the

 3 Collateral, such as the DIP Lender, are motivated to advance additional funds to protect their collateral.

 4            21.      The expenditures under the DIP Facility are made in preservation of the interests of all

 5 other creditors and parties-in-interest, who desire to maintain and support the commercial viability of

 6 the Debtors. Among other things, the DIP Facility will enable the continued operation of the Debtors'

 7 businesses, thereby preserving the value of any such secured creditor's interest in Collateral. As a

 8 result, such funding may itself constitute a form of adequate protection. See In re 499 W. Warren Street

 9 Associates, 142 B.R. at 53, 56-57 (Bankr. N.D.N.Y. 1992).

10                                         Necessity for Immediate Relief

11            22.      Bankruptcy Rule 6003 provides that "[e]xcept to the extent that relief is necessary to

12 avoid immediate and irreparable harm, the court shall not, within 20 days after the filing of the

13 petition, grant … (b) a motion to use, sell, lease or otherwise incur an obligation regarding property of

14 the estate, including a motion to pay all or part of a claim that arose before the filing of the

15 petition . . . ." The anticipated operating cash flow shortages would result in an immediate disruption to

16 the Debtors' operations and cause irreparable harm to the Debtors' estates. If the DIP Facility is not

17 approved, the Debtors' going concern value is severely threatened.

18            23.      The Debtors submit, therefore, that that delay in granting the relief requested in this

19 Motion would result in severe, immediate and irreparable harm to the Debtors. Pursuant to Bankruptcy

20 Rule 4001(c)(2) and otherwise, the Debtors are initially seeking an interim order granting the relief

21 requested by this Motion to be followed by, and subject to, a final order. As other courts have

22 recognized, granting interim relief is not inconsistent with Bankruptcy Rule 6003. See, e.g., In re First

23 NLC Fin. Serv., LLC, Case NO. 08-10632, 2008 Bankr. LEXIS 1466 at 6–7 (Bankr.S.D. Fla. Jan. 28,

24 2008. Accordingly, the interim relief requested herein is consistent with Bankruptcy Rule 6003.

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 1 IV.        CONCLUSION.

 2            WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially in

 3 the form attached to this Motion as Exhibit A, granting: (a) the relief requested in this Motion; and (b)

 4 such further relief as the Court may deem just and proper.

 5            RESPECTFULLY SUBMITTED this 15th day of September, 2017.

 6
                                                            MICHAEL W. CARMEL, LTD.
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 8                                                   By:    /s/ Michael W. Carmel
                                                            Michael W. Carmel
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12

13 COPY of the foregoing sent
   this 15th day of September, 2017 to:
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